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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)   BROWN RUDNICK LLP
                                                    David J. Molton, Esq.
  GENOVA BURNS LLC                                  Robert J. Stark, Esq.
  Daniel M. Stolz, Esq.                             Michael S. Winograd, Esq.
  Donald W. Clarke, Esq.                            dmolton@brownrudnick.com
  dstolz@genovaburns.com                            rstark@brownrudnick.com
  dclarke@genovaburns.com                           mwinograd@brownrudnick.com
  110 Allen Road, Suite 304                         Seven Times Square
  Basking Ridge, NJ 07920                           New York, NY 10036
  Tel: (973) 467-2700                               Tel: (212) 209-4800
  Fax: (973) 467-8126                               Fax: (212) 209-4801
  Local Counsel to the Official Committee of
  Talc Claimants I                           and

                                                    Jeffrey L. Jonas, Esq.
                                                    Sunni P. Beville, Esq.
                                                    jjonas@brownrudnick.com
                                                    sbeville@brownrudnick.com
                                                    One Financial Center
                                                    Boston, MA 02111
                                                    Tel: (617) 856-8200
                                                    Fax: (617) 856-8201
                                                    Co-Counsel for the Official Committee of Talc
                                                    Claimants I

  OTTERBOURG PC                                     PARKINS LEE & RUBIO LLP
  Melanie L. Cyganowski, Esq.                       Leonard M. Parkins, Esq.
  Adam C. Silverstein, Esq.                         Charles M. Rubio, Esq.
  Jennifer S. Feeney, Esq.                          lparkins@parkinslee.com
  mcyganowski@otterbourg.com                        crubio@parkinslee.com
  asilverstein@otterbourg.com                       Pennzoil Place
  jfeeney@otterbourg.com                            700 Milan St., Suite 1300
  230 Park Avenue                                   Houston, TX 77002
  New York, NY 10169                                Tel: (713) 715-1666
  Tel: (212) 905-3628                               Special Counsel to the Official Committee of
  Fax: (212) 682-6104                               Talc Claimants I
  Co-Counsel for the Official Committee of Talc
  Claimants I
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                                                          Chapter 11
  In Re:
                                                          Case No.: 21-30589(MBK)
  LTL MANAGEMENT, LLC,
                                                          Honorable Michael B. Kaplan
                                     Debtor.


                           NOTICE OF DEPOSITION OF ERIC D. GREEN

           TO:      Eric D. Green
                    Resolutions, LLC
                    30 Monument Square, Suite 245
                    Concord, Massachusetts 01742

           PLEASE TAKE NOTICE that, pursuant to Rules 26, 30, and 34 of the Federal Rules of

 Civil Procedure (the “Federal Rules”), as made applicable hereto by Rules 7026, 7030, and 7034,

 and 9014 of the Federal Rules of Bankruptcy Procedure, the Official Committee of Talc Claimants

 I (“TCC I”) appointed in the above-captioned chapter 11 case, by and through its undersigned

 counsel, will take the oral deposition of Eric D. Green on March 3, 2022, beginning at 12:00 p.m.

 (prevailing Eastern Time), or at such other date and time as agreed to between the parties. The

 deposition will take place remotely by teleconference or by other appropriate means to ensure the

 health and safety of all parties. The deposition will proceed before an officer authorized by law to

 administer oaths, and will be recorded by audio, video, and/or stenographic means. Parties who

 wish      to    participate    should    contact   Andrew    Carty    of   Brown   Rudnick   LLP   at

 acarty@brownrundick.com no fewer than 48 hours before the start of the deposition for more

 information on how to participate remotely.




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 Dated: February 22, 2022


                                         GENOVA BURNS, LLC


                                         By:    /s/ Daniel M. Stolz
                                                Daniel M. Stolz, Esq.
                                                Donald W. Clarke, Esq.
                                                110 Allen Road, Suite 304
                                                Basking Ridge, NJ 07920
                                                Telephone: (973) 533-0777
                                                Facsimile: (973) 467-8126
                                                Email: dstolz@genovaburns.com
                                                Email: dclarke@genovaburns.com

                                                Local Counsel to the Official Committee of
                                                Talc Claimants I




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